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 1
       UNITED STATES DISTRICT COURT
 2     SOUTHERN DISTRICT OF NEW YORK
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 3     CLARENCE BOWEN ALLEN, BRENDA BERMAN,
       ANNETTE BIRDSONG, WILLIAM HENRY, JOSE
 4     JACOB, JACQUELINE KING, SUSAN LAMONICA,
       JEAN PHIPPS, ROSLYN PRESS, HERBERT
 5     RICHARDSON, VIRGINIA TUFARO, on behalf of
       themselves and on behalf of other similarly
 6     situated individuals,

 7                        Plaintiffs,

 8                    vs.                   No. 19-cv-376 (WHP)

 9     CITY OF NEW YORK and HEALTH AND HOSPITALS
       CORPORATION,
10
                     Defendants.
11     -------------------------------------

12

13

14                        DEPOSITION OF WILLIAM FOLEY

15                             New York, New York

16                          Wednesday, July 22, 2020

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22
       Reported by:
23     ELLEN SANDLES
       Stenographic Reporter
24     Job No. 465501

25
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 1                               July 22, 2020

 2                               11:10 a.m.

 3

 4                    Deposition of WILLIAM FOLEY, held via

 5     WebEx Videoconference, New York, New York, before

 6     ELLEN SANDLES, a Qualified Stenographic Reporter

 7     and Notary Public of the State of New York.

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 1     A P P E A R A N C E S:

 2

 3             THE KURLAND GROUP

 4             Attorneys for Plaintiffs

 5                    85 Broad Street, 28th Floor

 6                    New York, New York 10004

 7             BY:    ERICA T. HEALEY-KAGAN, ESQ.

 8                    Tel:    212-253-6911

 9

10             NEW YORK CITY LAW DEPARTMENT

11             Attorneys for Defendants

12                    100 Church Street, Room 2-143

13                    New York, New York 10007

14             BY:    ALIZA J. BALOG, ESQ.

15

16

17     ALSO PRESENT:

18     Alison Mitchell, Esq; New York City Law Department

19     Blanche Greenfield, Deputy Counsel and Chief

20     Employment Counsel; New York City Health and

21     Hospitals Corporation

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 1                            WILLIAM FOLEY

 2                     IT IS HEREBY STIPULATED AND AGREED,

 3             by and between counsel for the respective

 4             parties hereto, that the filing, sealing

 5             and certification of the within deposition

 6             shall be and the same are hereby waived;

 7                    IT IS FURTHER STIPULATED AND AGREED

 8             that all objections, except as to the form

 9             of the question, shall be reserved to the

10             time of the trial;

11                    IT IS FURTHER STIPULATED AND AGREED

12             that the within deposition may be signed

13             before any Notary Public with the same

14             force and effect as if signed and sworn to

15             before the Court.

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 1                            WILLIAM FOLEY

 2            A.      Yes.

 3            Q.      So I just want to clarify, the document

 4     that was e-mailed to me lists February 2017 to the

 5     present for that position.           So that's why I wanted

 6     to --

 7            A.      I'm sorry.     I didn't send you the most

 8     up-to-date, I thought I had...I left New York City

 9     Health and Hospitals Corporation in January 2019.

10     If you would like me to I could go and get the

11     most recent.       I must have sent you the prior

12     before I updated it.

13            Q.      The top of this document says

14     July 2020?

15            A.      Yes.

16            Q.      I just want to make sure that is the

17     only difference, let's say between the document

18     that you sent us and the accurate July 2020

19     information.

20                    Is that fair?

21            A.      The only difference is that it doesn't

22     have my current position.

23            Q.      So in January 2019 you left New York

24     City Health and Hospitals Corporation, is that

25     right?



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 1                            WILLIAM FOLEY

 2            A.      Yes.

 3            Q.      In terms of your employment, what

 4     happened next?

 5            A.      I assumed the position of director of

 6     the Ventura County Health Care Agency in January

 7     of 2019.

 8            Q.      Was that another position in which you

 9     were contacted by a search group or was there some

10     other event that led to you taking the role of

11     Ventura County health services?

12            A.      I was introduced to the leadership of

13     Ventura County by a mutual acquaintance, a former

14     colleague of mine from Huron Consulting.

15            Q.      Was that Huron?

16            A.      Yes, Huron, H-U-R-O-N.

17            Q.      Do you know who currently serves in the

18     role of senior vice president acute care

19     operations for HHC?

20            A.      My understanding is that position was

21     not filled after I left.

22            Q.      So in your role as senior vice

23     president acute care operations, can you describe

24     in your words what your responsibilities were?

25            A.      Yes, I was responsible for the 11



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 1                            WILLIAM FOLEY

 2     hospitals of the health system, so the CEOs of

 3     each of the hospitals reported to me.

 4            Q.      You mentioned earlier that in

 5     February 2017 the former senior vice president

 6     acute care operations announced that they were

 7     leaving.

 8                    Is that correct?

 9            A.      Yes.

10            Q.      Do you know whether that was known to

11     anyone in the HHC system prior to February 2017 or

12     was that an unexpected departure or something

13     else?

14                    MS. BALOG:     Objection.

15            A.      As far as I know it was not known,

16     because when I learned it was the individual who

17     contacted me to tell me that he was leaving, and

18     that was the first I had heard of it.

19            Q.      So the first you heard about that

20     person's departure was in February 2017?

21            A.      Yes.

22            Q.      What was that individual's name?

23            A.      Rick Gannotta.

24            Q.      Can you spell that?

25            A.      G-A-N-N-O-T-T-A.



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 1                            WILLIAM FOLEY

 2            Q.      Do you know how long he had served in

 3     the role of senior vice president acute care

 4     operations?

 5            A.      I believe he served in that role for

 6     about seven or eight months.

 7            Q.      Okay.    So in your role as CEO of Jacobi

 8     Medical Center did you report to Mr. Gannotta?

 9            A.      Yes.

10            Q.      Did you report to Mr. Gannotta for the

11     entire term as CEO of Jacobi?

12            A.      Yes.

13            Q.      So he was already in that role in

14     September 2016, is that right?

15            A.      Yes.

16            Q.      Do you know who served in the role of

17     senior vice president acute care operations before

18     Mr. Gannotta?

19            A.      No, I don't know.

20            Q.      So after January 2019 when you left

21     HHC, do you know who the CEOs of the hospitals

22     then reported to if your position was not filled?

23            A.      Yes.

24            Q.      Who was that?

25            A.      They reported to Dr. Mitch Katz, the



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 1                            WILLIAM FOLEY

 2      CEO of Health and Hospitals.

 3            Q.      Do you know if Dr. Katz remains the CEO

 4      of Health and Hospitals today?

 5            A.      Yes.

 6            Q.      Do you know how long he's served in

 7      that role?

 8            A.      Since I believe January 2018.

 9            Q.      Do you know who served in the role of

10      CEO of HHC prior to Dr. Katz?

11            A.      Yes Mr. Stan Brezenoff.          Are you going

12      to make me spell that?

13            Q.      If you can that would be helpful.

14            A.      I may not get this right so Blanche you

15      can correct me.       B-R-E-S-S, no --

16                    MS. BALOG:      Would you like Blanche to

17      spell it for us?

18                    MS. GREENFIELD:       Is it okay if I

19      provide the spelling for the record?

20                    MS. HEALEY-KAGAN:         Yes.

21                    MS. GREENFIELD:       B-R-E-Z-H-O-N-N-F-F,

22      Stan Brezenoff.

23            Q.      Do you know for how long Mr. Brezenoff

24      served in the role of CEO of HHC?

25            A.      Yes, approximately one year, so January



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 1                            WILLIAM FOLEY

 2      of '17 to January of '18; it might be a little bit

 3      before that, but roughly January to January.                He

 4      was the interim CEO.

 5            Q.      Do you know who the CEO of HHC was

 6      before Mr. Brezenoff served in the interim role?

 7            A.      Yes.

 8            Q.      Who was that?

 9            A.      Dr. Ram Raju.

10            Q.      Do you know how long Dr. Raju served in

11      the role?

12            A.      I can't recall exactly.

13            Q.      Do you know approximately how long he

14      served in the role?

15            A.      I would say approximately four years.

16            Q.      Do you know why Dr. Raju's time as CEO

17      ended in approximately January 2017?

18            A.      My understanding is he left to take a

19      position with Northwell Health System.

20            Q.      Okay.    Do you know what position he

21      left to take?

22            A.      I know it was a senior vice president

23      position, I don't recall the exact title.

24            Q.      You mentioned earlier that

25      Mr. Brezenoff served as interim CEO, is that



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 1                            WILLIAM FOLEY

 2            A.      The information that the working group

 3      developed in terms of the Tables of Organization

 4      and the opportunities for addressing the layers of

 5      organization and the reduction of management, that

 6      information was provided to the CEOs who then --

 7      it was really the CEOs and their leadership team

 8      who identified and drilled down to the positions

 9      to come up with the list of positions that would

10      be reduced.

11            Q.      Did the working group provide specific

12      titles that should be analyzed or did they provide

13      guidance in another way?

14                    MS. BALOG:      Objection.

15            A.      The working group identified where it

16      was clear, the specific areas or positions, but it

17      was really left up to the leadership of the local

18      hospitals to evaluate that and determine, and

19      where it was felt that they felt like they had

20      justification for not reducing positions because

21      of the particular circumstances at the hospitals,

22      that was really up to them to make that

23      determination.

24            Q.      So for the group of separations, the

25      first group in or around February 2017, did each



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 1                            WILLIAM FOLEY

 2      of the hospitals then send the list of individuals

 3      that they would recommend for separation from

 4      employment to the working group?

 5                    MS. BALOG:      Objection.

 6            A.      They -- after they reviewed it, the

 7      human resources department then they did their

 8      review of the positions to make sure -- throughout

 9      the process we wanted to make sure this was an

10      objective process and that we were looking at

11      positions and not people.          So, in other words,

12      if -- somebody could not use this as an

13      opportunity to separate someone for performance

14      reasons, otherwise we were really emphasizing it

15      was an objective process.          We thought it was

16      important that human resources vet the list and

17      the recommendations from each of the hospitals, so

18      that would be the next step.

19            Q.      That's helpful, but I want to make sure

20      I get an answer to my question and I will rephrase

21      it:   Once each of the hospitals had their own

22      lists for whose employment should be terminated

23      where did they then send those lists?

24                    MS. BALOG:      Objection.

25            Q.      If anywhere?



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 2            A.      To human resources.

 3            Q.      So was the working group involved at

 4      all after sending recommendations to the

 5      hospitals?

 6            A.      As I recall, after human resources did

 7      their review then the lists were finalized.

 8            Q.      How, if at all, was the working group

 9      involved in the process after it sent, as you

10      called it, "recommendations" to the various

11      hospitals regarding the work that you had done in

12      the working group?

13            A.      I recall that was the end of the

14      working group's work.

15            Q.      Okay.    So then each of the lists from

16      the hospitals was sent to HHC's Central Human

17      Resources, is that right?

18            A.      Yes.

19            Q.      As you understand it, after human

20      resources reviewed that list did anything else

21      happen, individuals being notified?

22            A.      The lists were finalized and as I

23      recall the CEOs reviewed with the leadership of

24      Health and Hospitals which would have been -- I

25      was still with Jacobi when the first reduction was



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 1                            WILLIAM FOLEY

 2      to the list of the individuals based on some

 3      individuals being close to retirement, is that

 4      right?

 5                    MS. BALOG:      Objection.

 6            A.      That is my recollection, I don't

 7      remember the specifics but that is my

 8      recollection.

 9            Q.      Do you believe that any of the

10      individuals that remained on the list whose

11      employment was then terminated in February 2017

12      were, in fact, close to retirement?

13                    MS. BALOG:      Objection.

14            A.      I don't recall.

15            Q.      I want to now ask you some questions

16      regarding the second group of separations from

17      employment, and I understand of course at that

18      point your position with HHC and Jacobi changed.

19                    So after the separations in and around

20      February 2017, did there come a point you either

21      learned or decided there would need to be a second

22      group of separations?

23                    MS. BALOG:      Objection.

24            A.      Yes.

25            Q.      What was that point as you recall it?



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 2            A.      My recollection is, that in discussions

 3      with the interim CEO, Mr. Brezenoff, that we

 4      concluded -- jointly concluded that there were

 5      still opportunities to streamline and reduce

 6      management, and that in some cases we did not go

 7      as far in the first reduction that we could have,

 8      and that we should take another look at the

 9      management structures throughout the hospitals.

10            Q.      When you say "you decided there were

11      still opportunities to streamline" what metrics,

12      if any, did you base that decision on?

13            A.      Going back and looking at the work that

14      the work group had done the first time, and

15      identifying the opportunities for streamlining the

16      organizational structure, reducing the layers of

17      management, looking at span of control; all of the

18      criteria we looked at the first time.              It was

19      evident to us that there were still opportunities

20      that were not addressed.

21            Q.      So, what, if anything, did you and

22      Mr. Brezenoff decide to do?

23            A.      We decided to reactivate the work group

24      that I had led the first time, and the -- I asked

25      that group to go through -- essentially to go



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 1                            WILLIAM FOLEY

 2      through the process again, the analysis again, and

 3      to identify the gaps, the variability at which the

 4      hospitals approach the reduction the first time

 5      and identify the opportunities that were there.

 6            Q.      I'm sorry.      I may have misheard you.

 7      Did you say there were variabilities among the

 8      hospitals, is that what you're saying?

 9            A.      Yes.

10            Q.      Did you serve on the reactivated work

11      group the second time around?

12            A.      No, I appointed Chris Mastromano to

13      lead the group.

14            Q.      Other than you not serving on the

15      working group the second time around, were there

16      any other changes as to who served on that working

17      group?

18            A.      My recollection is that Kim Mendez had

19      been promoted to chief nursing officer and I don't

20      recall if she -- chief nursing officer for Health

21      and Hospitals.       Back in February she was the chief

22      nursing officer at Bellevue and subsequently was

23      promoted to the Health and Hospitals CNO position.

24      I don't recall if she remained on the work group

25      or not, but essentially the core of the group was



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 1                            WILLIAM FOLEY

 2      necessary for the HHC's overall budget?

 3                    MS. BALOG:      Objection.

 4            A.      I think the finances were a

 5      consideration throughout for this and we were

 6      looking at other opportunities to improve the

 7      finances as well, but this was one of several

 8      efforts to address the financial situation.

 9            Q.      So I understand that obviously if there

10      are financial issues there could be a number of

11      ways to resolve them, separating individuals from

12      employment being one of them, but is it your

13      testimony there were additional motivations for

14      what you're saying is streamlining that is not

15      motivated by financial issues?

16                    MS. BALOG:      Objection.

17            A.      The other motivation is, we felt there

18      were still opportunities to reduce management at

19      the hospitals.

20            Q.      I understand that you continued to use

21      that phrase "opportunities to streamline," but

22      what I'm saying is what would be a reason to take

23      one of the those opportunities to streamline if

24      not a financial reason?

25                    MS. BALOG:      Objection.



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 1                            WILLIAM FOLEY

 2            A.      Well, certainly finance is a reason to

 3      do it to improve the finances, so yes, improving

 4      the financial situation of the organization was a

 5      factor.

 6            Q.      What would be another factor?

 7            A.      Another factor is, we still felt we

 8      were top heavy in terms of management and we had

 9      not done enough the first time as an organization.

10            Q.      Again, what is the problem with being

11      "top heavy" if not financial?

12                    MS. BALOG:      Objection.

13            A.      I think financial is a factor,

14      absolutely.

15            Q.      Is there another factor?

16            A.      Well, the other factor is to be more

17      efficient in the way that we operate the business

18      in the hospitals.

19            Q.      Financially efficient, is that right?

20                    MS. BALOG:      Objection.

21            A.      And operationally, when you've got too

22      many managers it's not clear who is doing what, I

23      think the way the services are rendered, the

24      operations, I think that is a factor as well.

25            Q.      So there was a concern that services



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 2      were not being performed well?

 3                    MS. BALOG:      Objection.

 4            A.      Concerns that there is confusion in

 5      terms of the management of a department or a

 6      service that is going to impact performance.

 7            Q.      So after the working group developed

 8      the target numbers for each hospital what, if

 9      anything, happened next if you know?

10            A.      The organization met with the CEOs and

11      the leadership teams to go though their analyses

12      and recommendations so the CEOs could take that

13      and work with their leadership teams on finalizing

14      their reduction.

15            Q.      Okay.    It is my understanding the

16      leadership teams of each hospital then met and

17      developed a second set of lists?

18            A.      Yes.

19            Q.      What, as far as you understand it, did

20      the hospitals then do with those lists of

21      employees?

22            A.      My recollection is they reviewed the

23      lists, each of the CEOs reviewed their lists with

24      me, not in detail of position by position but

25      overall impact on their organizational structure.



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                                    WILLIAM FOLEY
